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                    1   JOSEPH W. COTCHETT (SBN 36324)
                        jcotchett@cpmlegal.com
                    2
                        TAMARAH P. PREVOST (SBN 313422)
                    3   tprevost@cpmlegal.com
                        KAIYI A. XIE (SBN 311182)
                    4   kxie@cpmlegal.com
                        MELISSA MONTENEGRO (SBN 329099)
                    5   mmontenegro@cpmlegal.com
                        COTCHETT, PITRE & McCARTHY, LLP
                    6
                        San Francisco Airport Office Center
                    7   840 Malcolm Road, Suite 200
                        Burlingame, CA 94010
                    8   Telephone: (650) 697-6000
                        Facsimile: (650) 697-0577
                    9
                        Attorneys for Defendants
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               12                                  UNITED STATES DISTRICT COURT
               13                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
               14
                                                             SAN JOSE DIVISION
               15

               16         NATIONAL ASSOCIATION FOR GUN                  Case No. 5:22-cv-00501-BLF
                          RIGHTS, INC., a non-profit corporation, and
               17         MARK SIKES, an individual,                    DEFENDANTS’ MOTION TO
               18                                                       DISMISS FOR LACK OF SUBJECT
                                               Plaintiffs,              MATTER JURISDICTION AND
               19                                                       MEMORANDUM OF POINTS AND
                                 v.                                     AUTHORITIES
               20
                          CITY OF SAN JOSE, a public entity,            Date:         June 2, 2022
               21         JENNIFER MAGUIRE, in her official             Time:         9:00 AM
               22         capacity as City Manager of the City of San   Courtroom:    3 – 5th Floor
                          Jose, and the CITY OF SAN JOSE CITY           Judge:        Hon. Beth Labson Freeman
               23         COUNCIL,
                                                                        Complaint Filed: January 25, 2022
               24                              Defendants.
               25

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       ♼                      DEFENDANTS’ MOTION TO DISMISS FOR LACK OF SUBJECT MATTER
 LAW OFFICES
COTCHETT, PITRE &              JURISDICTION AND MEMORANDUM OF POINTS AND AUTHORITIES;
 MCCARTHY, LLP                                  CASE NO. 5:22-CV-00501-BLF
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                    1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
                    2           PLEASE TAKE NOTICE THAT on Thursday, June 2, 2022 at 9:00 A.M., or as soon
                    3   thereafter as counsel may be heard, before the Honorable Beth Labson Freeman, Courtroom 3 of the
                    4   United States District Court for the Northern District of California, 280 South 1st Street, San Jose,
                    5   California 95113, Defendants City of San Jose, Jennifer Maguire, in her official capacity as City
                    6   Manager of the City of San Jose, and the City of San Jose City Council (collectively, “Defendants”)
                    7   will and hereby do move this Court to dismiss Plaintiffs’ Complaint, ECF No. 1 (“Complaint”), in
                    8   its entirety under Federal Rules of Civil Procedure 8(a) and 12(b)(1). This motion is based on this
                    9   Notice of Motion and Motion, the Memorandum of Points and Authorities, the Declaration of Toni
               10       Taber, San Jose City Clerk, and supporting papers, the attached exhibits, the Proposed Order filed
               11       herewith, judicially noticeable facts, the Request for Judicial Notice and supporting Declaration of
               12       Tamarah P. Prevost, the complete files and records in this action, and such other evidence and
               13       argument as may be allowed at the hearing on this Motion.
               14               Defendants respectfully request that this Court grant Defendants’ Motion in its entirety.
               15                                            ISSUES TO BE DECIDED
               16                   1. Whether the Complaint should be dismissed under Fed. R. Civ. P. 12(b)(1) because
               17       the Complaint fails to present a justiciable Case or Controversy under Article III of the U.S.
               18       Constitution.
               19                   2. Whether the Complaint fails to plead a claim for relief under Fed. R. Civ. P. 8(a)
               20       because, even if the allegations in the Complaint are taken as true, it fails to state the grounds for the
               21       Court’s jurisdiction and fails to show that show that Plaintiffs are entitled to relief.
               22                   3. Whether the Complaint’s allegations and legal contentions lack all basis in existing
               23       law, wholly lack evidentiary support, and were asserted without a reasonable inquiry such that
               24       sanctionable conduct has occurred under Fed. R. Civ. P. 11 for which Plaintiffs’ counsel should be
               25       ordered to show cause why the filing of the Complaint does not violate Fed. R. Civ. P. 11(b).
               26                   4. Whether leave to amend should be denied because the Court is in want of jurisdiction
               27       from the suit’s inception, and because the continued maintenance of this suit violates the Tenth
               28       Amendment and the U.S. Constitution’s guarantees of federalism and local sovereignty.
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COTCHETT, PITRE &        DEFENDANTS’ MOTION AND MP&A ISO MTD FOR LACK OF SMJ;                                                    i
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                    1   Dated: February 7, 2022           COTCHETT, PITRE & McCARTHY, LLP
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                                                          By: /s/ Tamarah P. Prevost
                    3                                        JOSEPH W. COTCHET
                    4                                        TAMARAH P. PREVOST
                                                             KAIYI A. XIE
                    5                                        MELISSA MONTENEGRO

                    6                                        Attorneys for Defendants
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                    1                         MEMORANDUM OF POINTS AND AUTHORITIES1
                    2            It is sometimes said that the court assumes a power to overrule or control the action
                    3            of the people’s representatives. This is a misconception…. The only power it has, if
                    4            such it may be called, is the power of judgment. This court neither approves nor
                    5            condemns any legislative policy. Its delicate and difficult office is to ascertain and
                    6            declare whether the legislation is in accordance with, or in contravention of, the
                    7            provisions of the Constitution; and, having done that, its duty ends.
                    8   United States v. Butler, 297 U.S. 1, 62 (1936).
                    9       I.   INTRODUCTION
               10                At 11:08 p.m. on January 25, 2022, mere minutes after the San Jose City Council’s first
               11       reading of a draft firearm ordinance seeking to mitigate gun harms and protect San Jose residents’
               12       health and safety, Plaintiffs hastily filed this suit—over a law that does not yet exist. Plaintiffs
               13       disregarded whether the target of their litigation had actually been enacted before they sprinted into
               14       federal court and in front of television cameras. What Plaintiffs have in their crosshairs is a blueprint,
               15       proposed legislation subject to later amendment, delay, or potentially rejection. In fact, Plaintiffs’
               16       Complaint attaches a version of the proposed gun ordinance clearly labeled “DRAFT” on each and
               17       every page. See Compl., Ex. B at 1-13. The preliminary nature of this ordinance is clear: in its first
               18       reading, the City Council directed the San Jose City Attorney to make additional edits to certain
               19       provisions of the draft ordinance for future consideration and adoption. See attached Declaration of
               20       Toni Taber, San Jose City Clerk, in Support of Defendants’ Motion to Dismiss for Lack of Subject
               21       Matter Jurisdiction (“Taber Decl.”) ¶ 4.
               22                Plaintiffs claim to have filed suit to vindicate their constitutional rights. Disappointingly,
               23       however, in their haste they violate bedrock principles arising from that very same Constitution: that
               24
                        1
                            Herein, unless otherwise specified: Defendants are alternatively referred to as “San Jose,”
               25
                        “Council,” and “City Council”; “Constitution” means the U.S. Constitution; citations to “¶ ”
               26
                        reference paragraphs in the Complaint (ECF No. 1) and “Compl., Ex. ” to the Complaint’s Exhibits
               27
                        (see ECF No. 1-1); pincites do not rely on ECF-generated pagination; internal citations, alterations,
               28
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 LAW OFFICES            quotations, and footnotes are omitted; and emphasis is added.
COTCHETT, PITRE &           DEFENDANTS’ MOTION AND MP&A ISO MTD FOR LACK OF SMJ;                                                1
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                    1   a federal court can only adjudicate real, live controversies. “[T]he ‘cases and controversies’ language
                    2   of Art. III forecloses the conversion of courts of the United States into judicial versions of college
                    3   debating forums,” and forecloses Plaintiffs’ claims here. Valley Forge Christian Coll. v. Ams. United
                    4   for Separation of Church & State, 454 U.S. 464, 473 (1982) (citing U.S. Const. art. III, § 2). San
                    5   Jose strongly believes that the proposed ordinance is lawful and constitutionally sound. Upholding
                    6   the Constitution and laws of the United States—including the Second Amendment—is of paramount
                    7   importance, and San Jose is without doubt that it is “emphatically the province and duty” of this
                    8   Court “to say what the law is,” and “that a law repugnant to the constitution is void.” Marbury v.
                    9   Madison, 5 U.S. 137, 177, 180 (1803). However, the draft gun ordinance at issue in this suit was
               10       and is not law. So, Plaintiffs’ choice to favor politicization over prudence must not be credited,
               11       particularly as it risks intimidating Councilmembers who are still actively considering the draft
               12       ordinance.
               13                Moreover, the unelected Plaintiffs should not be permitted to use federal judicial resources
               14       to potentially influence elected officials’ consideration of proposed legislation, then alter their
               15       Complaint once the ordinance is enacted. Such gamesmanship threatens to obstruct duly elected San
               16       Jose lawmakers in the discharge of their duties, in violation of the Tenth Amendment and
               17       constitutional guarantees of federalism and local sovereignty. Plaintiffs’ Complaint cannot be cured
               18       through later amendment or supplementation, even once the ordinance is enacted. The Court should
               19       grant San Jose’s Motion and dismiss the Complaint without leave to amend, and order Plaintiffs’
               20       counsel to show cause why the Complaint satisfies Fed. R. Civ. P. 11(b) (“Rule 11”) should Plaintiffs
               21       choose to oppose this Motion.2
               22       ///
               23       ///
               24       ///
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                        2
                            To be clear, San Jose is not moving for sanctions and is not pursuing fees and expenses under
               26
                        Rule 11(c)(2) or Civil L.R. 7-8. See, e.g., S.F. Herring Assoc. v. Pac. Gas & Elec. Co., 2020 WL
               27
                        6736930, at *8 n.5 (N.D. Cal. June 15, 2020) (noting that the defendant asked the Court to “order
               28
       ♼
 LAW OFFICES            an attorney to show cause why conduct … has not violated Rule 11(b)” based on “Rule 11(c)(3)”).
COTCHETT, PITRE &           DEFENDANTS’ MOTION AND MP&A ISO MTD FOR LACK OF SMJ;                                             2
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                    1    II.   FACTUAL AND PROCEDURAL HISTORY
                    2          On June 29, 2021, the San Jose City Council directed the San Jose City Attorney to return to
                    3   Council with a draft gun control ordinance seeking to mitigate gun harms and protect San Jose
                    4   residents’ health and safety, for Council to consider. Taber Decl. ¶ 2; Ex. 1; Compl., Ex. E at 1.
                    5          On the evening of January 25, 2022, the San Jose City Council heard Agenda Item 4.1 – Gun
                    6   Harm Reduction Ordinance No. 30716, which concerned the draft ordinance that Plaintiffs have
                    7   attached to their Complaint. Taber Decl. ¶ 3; Ex. 2; Compl., Ex. B. It was the first reading of the
                    8   draft ordinance. Taber Decl. ¶¶ 4, 7. During the same meeting, and pursuant to the requirements of
                    9   the San Jose City Charter (“City Charter”), the City Council voted to publish the proposed ordinance
               10       and to lay it before the Council for later consideration and adoption. Taber Decl. ¶¶ 4-5, 7; Ex. 3;
               11       Compl., Ex. A at art. VI., § 604. The City Council also directed the San Jose City Attorney to amend
               12       certain provisions of the draft ordinance. Taber Decl. ¶ 4. The City Council did not vote to enact the
               13       draft ordinance into law at that time. Id. According to this District’s CM/ECF-generated docket
               14       activity report, Plaintiffs filed suit at 11:08 p.m. on January 25, 2022, the very same evening that the
               15       City Council considered the draft ordinance on first reading and voted to publish it in anticipation
               16       of later acting upon the ordinance. Ex. 7.
               17              Indeed, the second reading of the draft firearm ordinance with amendments is currently
               18       scheduled to take place on February 8, 2022, at which time the City Council can vote to, inter alia,
               19       reject or pass a version of the ordinance into law. Taber Decl. ¶ 8; Ex. 5.
               20       III.   LEGAL STANDARD
               21              The plaintiff bears the burden of establishing that the Court has jurisdiction. Kokkonen v.
               22       Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). The court’s “role is neither to issue
               23       advisory opinions nor to declare rights in hypothetical cases, but to adjudicate live cases or
               24       controversies consistent with the powers granted the judiciary in Article III of the Constitution.”
               25       Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1138 (9th Cir. 2000) (en banc).
               26       “[F]ederal courts have never been empowered to render advisory opinions.” Coal. For a Healthy
               27       Cal. v. FCC, 87 F.3d 383, 386 (9th Cir. 1996). One of the justiciability doctrines designed to ensure
               28       that federal courts do not give advisory opinions is ripeness, which “prevent[s] the courts, through
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COTCHETT, PITRE &        DEFENDANTS’ MOTION AND MP&A ISO MTD FOR LACK OF SMJ;                                                 3
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                    1   avoidance of premature adjudication, from entangling themselves in abstract disagreements.”
                    2   Thomas, 220 F.3d at 1138. Ripeness doctrine “is drawn from both Article III limitations on judicial
                    3   power and from prudential reasons for refusing to exercise jurisdiction.” Reno v. Catholic Soc.
                    4   Servs., Inc., 509 U.S. 43, 57 n.18 (1993).
                    5          A defendant may attack a plaintiff’s assertion of jurisdiction by moving to dismiss pursuant
                    6   to Fed. R. Civ. P. 12(b)(1). Cetacean Cmty. v. Bush, 386 F.3d 1169, 1174 (9th Cir. 2004). “A Rule
                    7   12(b)(1) jurisdictional attack may be facial or factual.” Safe Air for Everyone v. Meyer, 373 F.3d
                    8   1035, 1039 (9th Cir. 2004). Herein, San Jose makes both a facial and a factual jurisdictional attack.
                    9   “In a facial attack, the challenger asserts that the allegations contained in a complaint are insufficient
               10       on their face to invoke federal jurisdiction. By contrast, in a factual attack, the challenger disputes
               11       the truth of the allegations that, by themselves, would otherwise invoke federal jurisdiction.” Id. “In
               12       resolving a factual attack on jurisdiction, the district court may review evidence beyond the
               13       complaint without converting the motion to dismiss into a motion for summary judgment. The court
               14       need not presume the truthfulness of the plaintiff’s allegations.” Id. If “the moving party has
               15       converted the motion to dismiss into a factual motion by presenting affidavits or other evidence
               16       properly brought before the court, the party opposing the motion must furnish affidavits or other
               17       evidence necessary to satisfy its burden of establishing subject matter jurisdiction.” Id.
               18       IV.    ARGUMENT
               19              This suit presents a highly unusual circumstance in which a federal court is asked to place
               20       its judicial thumb on the legislative deliberations of the elected City Council of San Jose, a charter
               21       city on which the California Constitution confers “plenary power over [] municipal affairs” absent
               22       conflicting state law under California’s Home Rule doctrine. Anderson v. City of San Jose, 42 Cal.
               23       App. 5th 683, 693 (2019).
               24              First, Plaintiffs’ Complaint should be dismissed because it calls for an advisory opinion on
               25       nonjusticiable issues that are not ripe for review; the proposed ordinance is subject to change and
               26       not yet law. Second, Plaintiffs’ counsel should be ordered to show cause as to why the pleadings
               27       satisfy Rule 11(b) because nonjusticiability is self-evident from the face of Plaintiffs’ internally
               28       contradictory pleadings. Third, dismissal should be without leave to amend. Even if the proposed
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 LAW OFFICES
COTCHETT, PITRE &        DEFENDANTS’ MOTION AND MP&A ISO MTD FOR LACK OF SMJ;                                                   4
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                    1   ordinance were enacted at some point, allowing Plaintiffs to await that possibility only to amend or
                    2   supplement the Complaint would be highly prejudicial to legislative deliberations over all proposed
                    3   ordinances and repugnant to the Tenth Amendment and constitutional guarantees of federalism and
                    4   local sovereignty.
                    5           A.     Plaintiffs Seek an Advisory Opinion on Claims that are Not Ripe
                    6           The Complaint attempts to manufacture an actual controversy over a proposed ordinance that
                    7   is subject to change and whose passage is a contingent probability. No matter how likely its passage
                    8   in one form or another, there is no justiciable controversy at bar. “Knowing” or “believing” it will
                    9   be passed is constitutionally insufficient. Controlling law is unequivocal: “a case is not ripe where
               10       the existence of the dispute itself hangs on future contingencies that may or may not occur.” Clinton
               11       v. Acequia, Inc., 94 F.3d 568, 572 (9th Cir. 1996); see also, e.g., Taylor v. Beckham, 178 U.S. 548,
               12       579-80 (1900) (“Whether certain statutes have or have not binding force it is for the state to
               13       determine, and that determination in itself involves no infraction of the Constitution of the United
               14       States, and raises no Federal question giving the courts of the United States jurisdiction.”). As shown
               15       below, the facts—whether taken from the Complaint and assumed to be true, or from authoritative
               16       extrinsic evidence—conclusively demonstrate that Plaintiffs have sued over a nonjusticiable
               17       contingency.
               18                      1.      Nonjusticiability is Apparent from the Pleadings
               19               The fact that San Jose’s proposed ordinance has not been enacted into law is obvious based
               20       on a review of the pleadings. For example, the Complaint alleges that on “January 25, 2022, the City
               21       Council adopted bill number 22-045,” which is “attached as Exhibit ‘B.’” ¶ 16. The following text
               22       appears on every page of Exhibit B: “DRAFT--Contact the Office of the City Clerk at (408)535-
               23       1260 or CityClerk@sanjoseca.gov for final document.” Compl., Ex. B at 1-13 (emphasis in
               24       original).
               25               Also, Exhibit B’s final page contains a section for San Jose’s Mayor and City Clerk to sign
               26       and record the City Council’s votes on whether the bill “PASSED FOR PUBLICATION.” Id. at 13
               27       (emphasis in original). Generously construing Plaintiffs’ imprecise allegation that “bill 22-045” (i.e.,
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                    1   Exhibit B to the Complaint) “passed” on January 25, 2022 (¶ 16), it can at most be understood that
                    2   the bill “passed for publication.”
                    3          Under the San Jose City Charter (also attached to the Complaint as Exhibit A), a proposed
                    4   city ordinance’s publication is a necessary—not sufficient—condition to its final enactment into
                    5   binding law. Article VI, Section 604 of the City Charter governs the procedure for the adoption of
                    6   ordinances. There, it states:
                    7          No ordinance shall be adopted unless (a) it is first passed for publication of title, (b)
                    8          the title of the ordinance is published as hereinafter provided in this Section, and (c)
                    9          at least six (6) days have elapsed between the date it was passed for publication of
               10              title and the date it is adopted. The title of an ordinance shall be deemed to have been
               11              “published”, as said term is hereinabove used in this Section if such title is printed in
               12              a newspaper of general circulation in the City no later than the third day immediately
               13              preceding the date of its adoption.
               14       Taber Decl. ¶ 5; Ex. 3; Compl., Ex. A at art. VI, § 604.
               15              In other words, San Jose must first publish a proposed ordinance before taking a final vote
               16       on its enactment. San Jose is a charter city that has “adopted procedure for the passage of ordinances”
               17       in its City Charter, and “such procedure must prevail over the general laws”—including state law
               18       governing the procedure for passing ordinances, which are applicable only to non-charter cities.
               19       Potter v. City of Compton, 15 Cal. App. 2d 232, 235 (1936).
               20              Here, simply passing “bill 22-045” for publication on first reading, does not pass it as law.
               21       Over 140 years ago, the California Supreme Court rejected a flaw in reasoning inversely analogous
               22       to that inherent in Plaintiffs’ Complaint: “We are not authorized to infer that [the ordinance] was
               23       properly published because it was passed….” City of Napa v. Easterby, 61 Cal. 509, 517 (1882).
               24       Clearly, a draft ordinance’s publication and passage are two independent acts.
               25                      2.      Nonjusticiability is Supported by Incontrovertible Facts
               26              Though the absence of subject matter jurisdiction is facially apparent and gives the Court
               27       reason enough to dismiss the Complaint, incontrovertible facts extrinsic to the pleadings supply
               28       further “ammunition.” The City of San Jose’s “Guide to Council Meetings” pamphlet (attached as
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                    1   Ex. 4, and is freely available online and fully accessible to Plaintiffs) provides a fair overview of the
                    2   overall parliamentary procedure for the adoption of ordinances by the City Council. It states: “With
                    3   the exception of emergency ordinances and tax/appropriation ordinances, all ordinances must have
                    4   two ‘readings’ at two separate Council meetings. Those ordinances do not become effective until
                    5   30 days after Council adoption at the second meeting.” See Taber Decl. ¶ 6; Ex. 4.
                    6          Here, when looking to the evidence and laws, it is clear that the draft ordinance was simply
                    7   introduced to Council for a first reading on January 25, 2022. Plaintiffs’ Complaint was filed the
                    8   same day. As explained above, the draft ordinance was passed for publication on January 25, 2022.
                    9   However, there are three more steps the Council must take before the draft ordinance can be properly
               10       adopted as law.
               11              First, the ordinance must undergo a second reading by Council. Taber Decl. ¶ 7. That has
               12       not yet happened. Id. At second reading, Council can vote to, inter alia, reject or pass a version of
               13       the proposed ordinance into law. Id. ¶ 8. Council also directed the San Jose City Attorney to make
               14       edits to certain provisions of the draft ordinance for consideration on second reading. Id. ¶ 4. Second,
               15       the title of the ordinance must be published in a newspaper of general circulation in San Jose. Id. ¶
               16       5; Ex. 3; Compl., Ex. A at art. VI, § 604(a). Publication took place on January 31, 2022, after the
               17       January 25, 2022, first reading of the proposed ordinance. Taber Decl. ¶ 9; Ex. 6. Third, under the
               18       City Charter, at least six days must elapse between the date it was passed for publication of title and
               19       the date it is adopted. Taber Decl. ¶ 5; Ex. 3; Compl., Ex. A at art. VI, § 604(c). The six-day
               20       requirement is critical here because it makes it impossible that all three required steps could have
               21       occurred on January 25, 2022, when Plaintiffs filed their complaint mere minutes after Council
               22       passed the draft ordinance for publication. Even if the Council hastily “passed” the ordinance on
               23       January 25, 2022, when first introduced, it would be in contravention of the City Charter because a
               24       proposed ordinance cannot be passed within six days of its introduction. In sum, the facts make clear
               25       that the draft firearm ordinance at issue in this suit was not adopted into law on January 25, 2022,
               26       when Plaintiffs filed their Complaint.
               27       ///
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                    1                    3.      Courts Routinely Reject Challenges to Potential Government Action
                    2             The Court lacks subject matter jurisdiction because the draft ordinance has not been enacted.
                    3   For there to be subject matter jurisdiction, the constitutional and prudential requirements of ripeness
                    4   must both be met. Wolfson v. Brammer, 616 F.3d 1045, 1058 (9th Cir. 2010).3 Here, neither is
                    5   satisfied. With respect to a pre-enforcement challenge to a law, the constitutional requirement
                    6   demands that there be a “genuine threat of imminent prosecution.” Id. (emphasis in original). The
                    7   Ninth Circuit has determined that “the mere existence of a statute is insufficient to create a ripe
                    8   controversy.” Id. As discussed, San Jose’s proposed gun ordinance does not even exist as statutory
                    9   law at this point. So, the constitutional requirement of standing cannot possibly be satisfied because
               10       nobody can be under a genuine threat of imminent prosecution from a phantom decree. See, e.g.,
               11       Splunk Inc. v. Deutsche Telekom AG, 2021 WL 3140832, at *2 (N.D. Cal. July 26, 2021) (holding
               12       that the receipt of demand letters threatening legal action under foreign trademark law was “a country
               13       mile” from a justiciable impending threat of a trademark suit under U.S. law). Notably, Splunk Inc.
               14       was filed under the Declaratory Judgment Act, which is governed by the same justiciability
               15       principles applicable to all federal cases. 2021 WL 3140832, at *1; see also, e.g., Cisco Sys., Inc. v.
               16       Alberta Telecomms. Res. Ctr., 892 F. Supp. 2d 1226, 1230 (N.D. Cal. 2012) (“The phrase ‘actual
               17       case or controversy’ as used in the [Declaratory Judgment] Act refers to the same ‘Cases’ and
               18       ‘Controversies’ that are justiciable under Article III of the Constitution.”).
               19                 Furthermore, the prudential requirement of ripeness incorporates two considerations: “the
               20       fitness of the issues for judicial decision and the hardship to the parties of withholding court
               21       consideration.” Id. at 1060. Here, the claims are unfit for decision because the “challenged action”
               22       must be “final.” Id. San Jose’s proposed ordinance is not. Its fate is contingent on the City Council’s
               23       actions during second reading currently scheduled to take place on February 8, 2022. Taber Decl. ¶
               24       8. Also, Plaintiffs would suffer no hardships in the absence of judicial review because there is no
               25       “direct and immediate” threat to their rights. See, e.g., Thomas, 220 F.3d at 1142 (“[T]he absence of
               26       any real or imminent threat of enforcement, particularly criminal enforcement, seriously undermines
               27
                        3
                            To the extent that Fed. R. Civ. P. 12(h) permits, Plaintiffs do not waive any objection or defense
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 LAW OFFICES            to the Complaint, including other challenges to the Court’s jurisdiction or this suit’s justiciability.
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                    1   any claim of hardship.”). Quite the opposite. If San Jose were “forced to defend the [] laws in a
                    2   vacuum and in the absence of any particular victims . . . the City would suffer hardship were we to
                    3   adjudicate this case now.” Id.
                    4           Courts consistently refuse to hear cases even where there is the mere possibility that existing
                    5   law implicates individual liberties. For instance, the U.S. Supreme Court rejected a challenge by
                    6   federal employees who hoped to engage in activities “protected by the First, Fifth, Ninth and Tenth
                    7   Amendments” that could potentially violate the Hatch Act’s prohibition on “specified political
                    8   activities of federal employees.” United Pub. Workers of Am. v. Mitchell, 330 U.S. 75, 78, 89 (1947).
                    9   In addition, in Western Mining Council v. Watt, the Ninth Circuit held that miners who feared their
               10       activities could violate the Federal Land Policy and Management Act, based on statements by the
               11       Secretary of the Interior interpreting the law, did not bring a justiciable constitutional challenge. 643
               12       F.2d 618, 622, 626 (9th Cir. 1981). And in Western Oil & Gas Association v. Sonoma County, the
               13       Ninth Circuit dismissed a constitutional attack on promulgated county ordinances concerning
               14       offshore drilling because a two-year federal moratorium on offshore drilling rendered the challenge
               15       “far too speculative for resolution by a federal court.” 905 F.2d 1287, 1289, 1291 (9th Cir. 1990),
               16       cert. denied, 498 U.S. 1067; see also O’Shea v. Littleton, 414 U.S. 488, 497 (1974) (“Here we can
               17       only speculate whether respondents will be arrested, either again or for the first time, for violating a
               18       municipal ordinance or a state statute, particularly in the absence of any allegations that
               19       unconstitutional criminal statutes are being employed to deter constitutionally protected conduct.”);
               20       Taylor v. Beckham, 178 U.S. 548, 579-80 (1900) (“Whether certain statutes have or have not binding
               21       force it is for the state to determine, and that determination in itself involves no infraction of the
               22       Constitution of the United States, and raises no Federal question giving the courts of the United
               23       States jurisdiction.”).
               24               Here, there is no ordinance in existence that could reasonably threaten Plaintiffs’ rights,
               25       constitutional or otherwise, as alleged in the Complaint. In view of controlling law, this Court lacks
               26       Article III jurisdiction and should dismiss the Complaint.
               27       ///
               28       ///
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                    1           B.      The Complaint Violates Fed. R. Civ. P. 11
                    2           The Complaint, which baselessly attempts to brandish judicial authority to undermine
                    3   legislative deliberations and air nonjusticiable grievances, violates Rule 11(b). Although San Jose
                    4   has grounds to do so, San Jose is not seeking sanctions, nor is it seeking fees and expenses under
                    5   Rule 11(c)(2) or Civil L.R. 7-8. San Jose firmly believes that the people have the right to seek redress
                    6   from the courts to vindicate their constitutionally protected rights and individual liberties, including
                    7   the Second Amendment. But the deliberative, democratic process is no less constitutionally
                    8   sacrosanct. A pretextual lawsuit filed to bully San Jose’s elected officials into voting a certain way
                    9   on pending legislation should not be countenanced. Therefore, the Court should order Plaintiffs’
               10       counsel to show cause why the Complaint does not violate Rule 11(b), if they oppose dismissal of
               11       the Complaint in any manner.
               12               “In the Ninth Circuit, Rule 11 sanctions are appropriately imposed where:” (1) a court filing
               13       is “frivolous”; or (2) the filing was made “for an improper purpose.” Talece Inc. v. Zheng Zheng,
               14       2021 WL 242913, at *2 (N.D. Cal. Jan. 25, 2021) (citing Townsend v. Holman Consulting Corp.,
               15       929 F.2d 1358, 1362 (9th Cir. 1990) (en banc)). Sanctions are appropriate in this litigation under
               16       either rationale.
               17                       1.      The Complaint is Objectively Frivolous
               18               As permissive as federal notice pleading requirements may be, the basis for the Court’s
               19       jurisdiction is just about the only thing that Plaintiffs, like all plaintiffs, were required to specifically
               20       set forth in their Complaint upon a reasonably inquiry. See, e.g., Fed. R. Civ. P. 8(a) (“A pleading
               21       that states a claim for relief must contain: (1) a short and plain statement of the grounds for the
               22       court’s jurisdiction….”); Fed. R. Civ. P. 11(b) (requiring pleadings to be presented after an “inquiry
               23       reasonable under the circumstances”); 5 Wright & Miller, Federal Practice and Procedure § 1206
               24       (4th ed. 2021) (“[T]he basis upon which the district court’s jurisdiction depends must be alleged
               25       affirmatively and distinctly and cannot be established argumentatively or by mere inference.”); Civil
               26       L.R. 3-5(a).
               27               Courts in this District have held pleadings that are clearly self-contradictory to be in violation
               28       of Rule 11(b). See, e.g., Nguyen v. Simpson Strong-Tie Co., 2020 WL 5232564, at *5 (N.D. Cal.
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                    1   Sept. 2, 2020). In Nguyen, the plaintiff’s counsel “cherry picked and incorporated into the FAC
                    2   isolated portions of” documents that formed the basis for the suit “while simply ignoring other
                    3   language which, as [the defendant] rightly asserted, contradicted core allegations made in the FAC.”
                    4   Id. Here, the Complaint is no different. It categorically asserts that the proposed ordinance “will
                    5   become law on July 25, 2022” (¶ 16) and unreservedly represents the attached draft legislation as if
                    6   it were already black letter law. See, e.g., ¶¶ 19, 21, 23-27, 30, 41-42, 47-52, 68-70, 86, 88, 107-08,
                    7   110-11. Yet, the fact that the City Council only considered the draft “for publication” purposes is
                    8   apparent from the text of the exact draft attached to the Complaint, and also from the attached City
                    9   Charter. Compl., Ex. B at 13; Compl., Ex. A at art. VI., § 604. The impact of a complaint rife with
               10       internal consistencies is that it is “factually misleading, which can warrant sanctions.” Nguyen, 2020
               11       WL 5232564, at *5. Plaintiffs are armed with competent legal counsel and should not be permitted
               12       to bypass bedrock jurisdictional principles in favor of a preemptive press conference. Furthermore,
               13       “[c]ounsel [cannot] avoid the sting of Rule 11 sanctions by operating under the guise of a pure heart
               14       and empty head.” Id. at *8 (quoting Smith v. Ricks, 31 F.3d 1478, 1488 (9th Cir. 1994)) (alteration
               15       in original). Like the sanctioned attorney in Nguyen, Plaintiffs’ counsel cannot cry ignorance of the
               16       factual predicates for their Complaint because “alleging claims that were directly undercut by the
               17       [documents] … that Counsel cited in the FAC shows that Counsel were making allegations in spite
               18       of the information known to them, rather than in a state of uncertainty because of a lack of
               19       discovery.” Id.
               20                         2.   The Complaint was Filed to Impede the Democratic Process
               21              Rule 11(b)(1) forbids counsel from filing papers that “harass” the opposing party. Filing a
               22       lawsuit that treats federal courts like “publicly funded forums for the ventilation of public
               23       grievances” to vindicate “value interests,” as Plaintiffs have done, imposes an immense burden and
               24       an unconscionable intrusion of judicial power into the operations of duly elected legislatures. Valley
               25       Forge Christian Coll., 454 U.S. at 473. It also risks intimidating and improperly influencing City
               26       Councilmembers. Indeed, there is a “classic governmental interest in protecting against improper
               27       influences on officeholders that debilitate the democratic process.” Citizens United v. Fed. Election
               28       Comm’n, 558 U.S. 310, 399 (2010) (Stevens, J., concurring in part). Plus, facial constitutional
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                    1   challenges akin to Plaintiffs’ suit in which the court actually has jurisdiction and there actually are
                    2   real laws to contest are disfavored because they “threaten to short circuit the democratic process by
                    3   preventing laws embodying the will of the people from being implemented in a manner consistent
                    4   with the Constitution.” Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 451
                    5   (2008). Here, nothing is more central to the “democratic process” than elected officials’ lawmaking
                    6   activities.
                    7           How curious that Plaintiffs lodged their suit at 11:08 p.m. on January 25, 2022, impeccably
                    8   timed to turn up mere minutes after the City Council voted to publish the draft ordinance in
                    9   anticipation of future consideration and adoption. Taber Decl. ¶ 7. Indeed, Plaintiffs all but admit
               10       that they paid close attention to City Council proceedings and awaited the first reading of the
               11       proposed ordinance before filing their preprepared Complaint:
               12               We had our complaint ready to go knowing what they would pass. Once it was

               13               confirmed they passed we literally filed that evening very late at night or early in the

               14               morning, I guess. So once we heard that San Jose was going to schedule this and we

               15               knew we’d be filing a lawsuit, we knew we needed to probably do a news conference

               16               talking about it and to have an actual response. We were going to get inundated from

               17               reporters if we just filed the lawsuit and didn’t make any comments.

               18       Dudley W. Brown, President, National Association for Gun Rights, FIGHTING A WHOLE NEW

               19       BREED of GUN CONTROL – Dudley’s Range Rogues, YouTube, at 01:30–02:02 (Jan. 30, 2022),

               20       https://youtu.be/YZJlctURfeg (“Statement”). The Court can take judicial notice of the truth of this

               21       Statement by Dudley W. Brown, President of entity Plaintiff National Association for Gun Rights,

               22       for the reasons explained in San Jose’s concurrently filed Request for Judicial Notice and supporting

               23       papers. Namely, that it is an admission by a party opponent, accessible on a publicly accessible

               24       website, from a source whose accuracy cannot be reasonably questioned (i.e., the party opponent

               25       himself). Fed. R. Evid. 201, 802(d)(2).

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                    1           C.      The Complaint Should be Dismissed Without Leave to Amend
                    2           Anything short of dismissal without leave to amend would be an impermissible intrusion on
                    3   the powers constitutionally reserved for San Jose to exercise under the Tenth Amendment and the
                    4   Constitution’s assurance of federalism.
                    5           First and foremost, the Ninth Circuit’s permissive standards for granting leave to amend are
                    6   wholly inapplicable here. The amendment of pleadings concerns the provisions of Fed. R. Civ. P.
                    7   15(a) (“Rule 15”). Leadsinger, Inc. v. B.M.G. Music Publ’g, 512 F.3d 522, 532 (9th Cir. 2008)
                    8   (noting that the requirement that courts grant leave to amend “freely when justice so requires”
                    9   derives from Rule 15(a)(2)). However, Rule 15(a) only allows parties to amend pleadings to “assert
               10       matters that were overlooked or were unknown at the time the party interposed the original
               11       complaint.” 6 Wright & Miller, Federal Practice and Procedure § 1473 (3d ed. 2021) (“[A]n amended
               12       pleading, whether prepared with or without leave of court, only should relate to matters that have
               13       taken place prior to the date of the earlier pleading.”). No amount of amending could teleport this
               14       Complaint “Back to the Future,” to a time if and when San Jose passes its gun ordinance. “Any
               15       amendment would be futile” here and should not be allowed. Leadsinger, Inc., 512 F.3d at 532.
               16               Allowing Plaintiffs to supplement their pleadings under Rule 15(d) would also not be
               17       permissible. “If jurisdiction is lacking at the outset [of a litigation], the district court has no power
               18       to do anything with the case except dismiss.” Morongo Band of Mission Indians v. Cal. State Bd.
               19       of Equalization, 858 F.2d 1376, 1380 (9th Cir. 1988), cert. denied, 488 U.S. 1006 (1989). Granted,
               20       some nuances have arisen since Morongo which hint against a wholly rigid application of this
               21       principle. But none are applicable here. See, e.g., Lopes v. Turnage, 2021 WL 5142070, at *1 (N.D.
               22       Cal. Oct. 15, 2021) (applying Morongo to dismiss complaint without leave to amend where the pro
               23       se plaintiff failed to plead that federal question jurisdiction existed from the outset of the litigation),
               24       adopted by 2021 WL 5140122 (N.D. Cal. Nov. 4, 2021); Clancy v. Mancuso, 2021 WL 3191634, at
               25       *2 (N.D. Cal. July 28, 2021) (citing Morongo in dismissing the pro se plaintiff’s case without leave
               26       to amend for failure to plead that diversity matter jurisdiction existed at the time the original
               27       complaint was filed); Friends of the Earth v. Sanderson Farms, Inc., 2019 WL 3457787, at *1, 4
               28       (N.D. Cal. July 31, 2019) (dismissing lawsuit after close of discovery because “Plaintiffs cannot rely
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                    1   on evidence after the filing of their lawsuit to support their standing to sue”) (citing Morongo, 858
                    2   F.2d at 1380), aff’d, 992 F.3d 939 (9th Cir. 2021).
                    3          Additionally, a practice of allowing plaintiffs to sue legislatures whenever a bill looked likely
                    4   to pass so that the plaintiffs could amend or supplement their pleadings when the bill actually passes
                    5   is itself unconstitutional. This is not merely an issue of prudential curiosity but is of an unwaivable,
                    6   structural, constitutional nature—respect for legislative deliberations and federalism is integral to
                    7   the constitutional structure and the Tenth Amendment. “Where, as here, the exercise of authority by
                    8   state officials is attacked, federal courts must be constantly mindful of the special delicacy of the
                    9   adjustment to be preserved between federal equitable power and State administration of its own
               10       law.” Rizzo v. Goode, 423 U.S. 362, 377-78 (1976) (addressing federalism as a consideration in
               11       federal courts’ jurisdiction “beyond … the existence of a live controversy” under Article III).
               12       Federalism plays “such an important part in governing the relationship between federal courts and
               13       state governments” and must be afforded weight in all pronouncements by federal courts that affect
               14       local governments. Id. at 380. The Ninth Circuit has, for instance, refused to exercise jurisdiction in
               15       litigation that involved the policies of a municipal police department due to “federalism concerns.”
               16       Portland Police Ass’n v. City of Portland, 658 F.2d 1272, 1275 n.3 (9th Cir. 1981); see also, e.g.,
               17       Westlands Water Dist. Distrib. Dist. v. Nat. Res. Defense Council, 276 F. Supp. 2d 1046, 1051 (E.D.
               18       Cal. 2003) (refusing to exercise jurisdiction over administrative agency’s rulemaking process to
               19       avoid “premature adjudicating,” entanglement over “abstract disagreements over administrative
               20       policies, and also to protect the agencies from judicial interference until an administrative decision
               21       has been formalized and its effects felt in a concrete way by the challenging parties”) (quoting Rapid
               22       Transit Advocates, Inc. v. S. Cal. Rapid Transit Dist., 752 F.2d 373, 378 (9th Cir. 1982)). And, to
               23       permit suits to be filed during legislative deliberations and then amended or supplemented once a
               24       law is passed would invite gamesmanship and the manipulation of judicial power to exert undue
               25       influence over lawmakers’ deliberations.
               26              Constitutional violations can arise in many ways. However, there is only one way in this
               27       country and in San Jose by which the laws that advance the Constitution’s principles are
               28       promulgated. If and when the time comes, San Jose stands ready to champion its laws, all of them,
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                    1   passed by and through the people’s leaders popularly elected to the San Jose City Council. But
                    2   proposed ordinances are not law, so now is not that time.
                    3    V.    CONCLUSION

                    4          For the foregoing reasons, Defendants respectfully request that the Court dismiss Plaintiffs’

                    5   Complaint without leave to amend, and that Plaintiffs’ counsel are ordered to show cause why the

                    6   Complaint satisfies the requirements of Fed. R. Civ. P. 11(b) if they elect to oppose this Motion.

                    7

                    8   Dated: February 7, 2022                      COTCHETT, PITRE & McCARTHY, LLP

                    9
                                                                     By: /s/ Tamarah P. Prevost
               10                                                       JOSEPH W. COTCHETT
                                                                        TAMARAH P. PREVOST
               11
                                                                        KAIYI A. XIE
               12                                                       MELISSA MONTENEGRO

               13                                                        Attorneys for Defendants

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